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                                   4                                        UNITED STATES DISTRICT COURT

                                   5                                       NORTHERN DISTRICT OF CALIFORNIA

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                                   7       LYNDSEY BALLINGER, et al.,                       Case No. 18-cv-07186-HSG
                                   8                         Plaintiffs,                    ORDER GRANTING MOTION TO
                                                                                            DISMISS
                                   9                 v.
                                                                                            Re: Dkt. No. 32
                                  10       CITY OF OAKLAND,
                                  11                         Defendant.

                                  12
Northern District of California
 United States District Court




                                  13            Plaintiffs Lyndsey and Sharon Ballinger brought this challenge to Defendant City of

                                  14   Oakland’s Uniform Residential Tenant Relocation Ordinance, under which they were required to

                                  15   pay their tenants nearly $7,000 to move back into their Oakland home. The City of Oakland

                                  16   moved to dismiss. See Dkt. No. 32. The Court finds that the Ballingers have not pled a

                                  17   cognizable legal theory and therefore GRANTS the City’s motion without leave to amend.

                                  18       I.   BACKGROUND
                                  19            The Court begins by summarizing the relevant City of Oakland ordinances before turning

                                  20   to the Ballingers’ allegations.

                                  21            A.        City of Oakland Ordinances
                                  22            In 2003, the City of Oakland passed the Just Cause for Eviction Ordinance, which

                                  23   prohibits landlords from evicting their tenants without cause. See Oakland, Cal., Mun. Code

                                  24   (“OMC” or “Code”) § 8.22.300–390.1 The City Council found that Oakland had a “prolonged

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                                         All OMC provisions cited in this order are included in Exhibit A to the City’s Request for
                                       Judicial Notice, see Dkt. No. 33 (“RJN”), and are also available online at
                                  27   https://library.municode.com/ca/oakland/codes/code_of_ordinances. Because “[m]unicipal
                                       ordinances are proper subjects for judicial notice,” Tollis, Inc. v. Cty. of San Diego, 505 F.3d 935,
                                  28   938 n.1 (9th Cir. 2007), and the Ballingers do not oppose the request, see Opp. at 1 n.1, the Court
                                       takes judicial notice of the OMC.
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                                   1   affordable housing crisis” and that similar good cause protections in neighboring cities (such as

                                   2   San Francisco, Berkeley, and Hayward) “have aided community stability and reduced urban

                                   3   problems associated with arbitrary disruption of stable households.” OMC § 8.22.300. That

                                   4   ordinance specifies what constitutes good cause for eviction, such as when a tenant fails to pay

                                   5   rent or violates a material term of the lease. See OMC § 8.22.360.A.1–2. In addition, two

                                   6   categories of permissible no-fault evictions (as defined in the ordinance) are relevant to this

                                   7   lawsuit.2 First, a tenant may be evicted if the “owner of record seeks in good faith, without

                                   8   ulterior reasons and with honest intent, to recover possession of the rental unit for his or her

                                   9   occupancy as a principal residence where he or she has previously occupied the rental unit as his

                                  10   or her principal residence and has the right to recover possession for his or her occupancy as a

                                  11   principal residence under a written rental agreement with the current tenants.” OMC

                                  12   § 8.22.360.A.8. Second, a tenant may be evicted if the “owner of record seeks in good faith,
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                                  13   without ulterior reasons and with honest intent, to recover possession for his or her own use and

                                  14   occupancy as his or her principal residence.” OMC § 8.22.360.A.9.

                                  15          On March 1, 2016, the Oakland City Council adopted Ordinance Number 13358, which

                                  16   requires landlords that evict tenants when withdrawing a unit from the rental market under the

                                  17   Ellis Act to make a relocation payment to the evicted tenants. See RJN Ex. B; see also OMC

                                  18   § 8.22.450(A).

                                  19          On January 16, 2018, the Oakland City Council adopted the ordinance at issue in this

                                  20   lawsuit—the Uniform Residential Tenant Relocation Ordinance (“the Ordinance”). See First

                                  21   Amended Complaint (“FAC”), Dkt. No. 29-1 Ex. A; see also OMC § 8.22.800–870. The City

                                  22   Council found that “all major California rent-controlled jurisdictions surveyed . . . require

                                  23   relocation payments for no-fault evictions” and that evicted tenants “face displacement and great

                                  24   hardship” and “are forced to incur substantial costs related to new housing.” See FAC Ex. A at 2.

                                  25   Therefore, the Ordinance extended the relocation payment program established by Ordinance

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                                  27    Another category allows an owner to withdraw a property from the rental market in accordance
                                       with California’s Ellis Act. See OMC § 8.22.360.A.11. The Ballingers’ original complaint
                                  28   contended that Oakland had violated the Ellis Act, see Compl., Dkt. No. 1 ¶¶ 99–103, but the
                                       amended complaint dropped that legal theory.
                                                                                       2
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                                   1   Number 13358 to other no-fault evictions, including owner move-in evictions and condominium

                                   2   conversions. See id. The Ordinance set the uniform relocation payment for qualifying no-fault

                                   3   evictions at $6,500 per unit for studios and one-bedroom apartments, $8,000 per unit for two-

                                   4   bedroom apartments, and $9,875 per unit for apartments with three or more bedrooms. See OMC

                                   5   § 8.22.820.A. These amounts were set to increase annually based on the Consumer Price Index

                                   6   adjustment. OMC § 8.22.820.D. Under the Ordinance, a tenant who was ultimately evicted

                                   7   would be eligible for one-third of the uniform relocation payment upon move-in, two-thirds of the

                                   8   uniform relocation payment after having lived in the unit for one year, and the entire amount after

                                   9   two years of occupancy. OMC § 8.22.850.C.

                                  10          B.    The Ballingers’ Allegations
                                  11          Lyndsey and Sharon Ballinger live with their two children in a three-bedroom home on

                                  12   MacArthur Boulevard in Oakland. See FAC ¶¶ 6, 22–23. Both Ballingers are members of the
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                                  13   military: Sharon is a nurse practitioner currently stationed at Travis Air Force Base and Lyndsey is

                                  14   transitioning from the D.C. Air National Guard to a part-time role in the California Air National

                                  15   Guard. Id. ¶ 22. In 2015, the Ballingers were both active duty personnel in the United States Air

                                  16   Force and received orders to transfer to the Washington, D.C. area. Id. ¶ 24. Because they

                                  17   intended to return to Oakland following their assignment in Washington, they “decided to

                                  18   temporarily rent their house while on duty.” Id. ¶ 25.

                                  19          The Ballingers leased their MacArthur Boulevard home for one year, beginning on

                                  20   September 13, 2016. Id. ¶ 26; see also id. Ex. C (lease agreement). After the one-year lease

                                  21   expired, it would convert to a month-to-month tenancy. Id. ¶ 26. Because Oakland had not yet

                                  22   passed the Ordinance, the lease “did not anticipate . . . a payment requirement, nor did it

                                  23   specifically acknowledge that the Ballingers intended to return to the home and use it as their

                                  24   primary residence.” Id. ¶ 27.

                                  25          In late 2017, the Ballingers learned that they would be reassigned to the Bay Area. Id.

                                  26   ¶ 28. The following March, the Ballingers gave their tenants sixty days’ notice to vacate the

                                  27   MacArthur Boulevard house. Id. ¶ 29. Pursuant to the Ordinance, the Ballingers informed their

                                  28   tenants of their right to a $6,582.40 relocation payment and paid them half that amount. Id. ¶¶ 29–
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                                   1   30. When their tenants vacated the house in late April 2018, the Ballingers paid them the

                                   2   remaining $3,291.20 required under the Ordinance. Id. ¶¶ 31–32. However, the Ordinance forced

                                   3   the Ballingers to make the relocation payment “before the tenants claimed or incurred any

                                   4   relocation costs and without any means to verify how or where they would spend the money.” Id.

                                   5   ¶ 33.

                                   6           C.   The Ballingers Bring Suit
                                   7           The Ballingers brought suit against the City of Oakland on November 28, 2018. See Dkt.

                                   8   No. 1. They filed the FAC on February 26, 2019, asserting six causes of action: (1) a facial

                                   9   Takings Clause claim for physical taking of private property for a private purpose, FAC ¶¶ 43–53;

                                  10   (2) facial and as-applied claims for unconstitutional exaction of private property, id. ¶¶ 54–64; (3)

                                  11   an as-applied claim for an uncompensated and unconstitutional physical taking, id. ¶¶ 65–73; (4)

                                  12   facial and as-applied claims for an unreasonable seizure in violation of the Fourth Amendment, id.
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                                  13   ¶¶ 74–84; (5) an as-applied claim for violation of due process, id. ¶¶ 85–95; and (6) a claim for

                                  14   unconstitutional interference with the obligation of contract, id. ¶¶ 96–104. The Ballingers seek a

                                  15   declaratory judgment, permanent injunction, damages, fees, and costs. See id. (Relief Sought).

                                  16           D.   Oakland Moves to Dismiss
                                  17           Oakland moved to dismiss the amended complaint on March 12, 2019. See Dkt. No. 32

                                  18   (“Mot.”). The Ballingers opposed on March 25, see Dkt. No. 34 (“Opp.”), and Oakland replied on

                                  19   April 2, see Dkt. No. 35 (“Reply”). The Court held a hearing on the motion on April 11, 2019.

                                  20   See Dkt. No. 36 (minute entry).

                                  21    II.    LEGAL STANDARD
                                  22           Federal Rule of Civil Procedure 8(a) requires that a complaint contain “a short and plain

                                  23   statement of the claim showing that the pleader is entitled to relief[.]” A defendant may move to

                                  24   dismiss a complaint for failing to state a claim upon which relief can be granted under Federal

                                  25   Rule of Civil Procedure 12(b)(6). “Dismissal under Rule 12(b)(6) is appropriate only where the

                                  26   complaint lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory.”

                                  27   Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). To survive a Rule

                                  28   12(b)(6) motion, a plaintiff must plead “enough facts to state a claim to relief that is plausible on
                                                                                          4
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                                   1   its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially plausible

                                   2   when a plaintiff pleads “factual content that allows the court to draw the reasonable inference that

                                   3   the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                   4               In reviewing the plausibility of a complaint, courts “accept factual allegations in the

                                   5   complaint as true and construe the pleadings in the light most favorable to the nonmoving party.”

                                   6   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Nonetheless,

                                   7   Courts do not “accept as true allegations that are merely conclusory, unwarranted deductions of

                                   8   fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                   9   2008). And even where facts are accepted as true, “a plaintiff may plead [him]self out of court” if

                                  10   he “plead[s] facts which establish that he cannot prevail on his . . . claim.” Weisbuch v. Cty. of

                                  11   Los Angeles, 119 F.3d 778, 783 n.1 (9th Cir. 1997) (quotation marks and citation omitted).

                                  12               If dismissal is appropriate under Rule 12(b)(6), a court “should grant leave to amend even
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                                  13   if no request to amend the pleading was made, unless it determines that the pleading could not

                                  14   possibly be cured by the allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir.

                                  15   2000) (quotation marks and citation omitted).

                                  16   III.        DISCUSSION
                                  17               Oakland moves to dismiss all six of the Ballingers’ causes of action, as well as their

                                  18   requests for injunctive and declaratory relief. The Court begins with the Ballingers’ three Takings

                                  19   Clause causes of action before turning to their other constitutional causes of action.

                                  20          A.      Takings Clause Claims
                                  21               The Takings Clause of the Fifth Amendment provides that “[n]or shall private property be

                                  22   taken for public use, without just compensation.” U.S. Const. amend. V. A person who has

                                  23   suffered a taking at the hands of a local government may bring a claim in federal court under 42

                                  24   U.S.C. § 1983 to obtain just compensation. See Knick v. Twp. of Scott, 139 S. Ct. 2162, 2172

                                  25   (2019).

                                  26                The Supreme Court has drawn a distinction between two types of takings: physical

                                  27   takings and regulatory takings. See Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Planning

                                  28   Agency, 535 U.S. 302, 321 (2002). With respect to physical takings, the Fifth Amendment’s
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                                   1   “plain language requires the payment of compensation whenever the government acquires private

                                   2   property for a public purpose, whether the acquisition is the result of a condemnation proceeding

                                   3   or a physical appropriation.” Id. The same holds true for “total regulatory takings,” where the

                                   4   government “seeks to sustain regulation that deprives land of all economically beneficial use.”

                                   5   Lucas v. S.C. Coastal Council, 505 U.S. 1003, 1026–27 (1992). By contrast, the Fifth

                                   6   Amendment “contains no comparable reference to regulations that prohibit a property owner

                                   7   from making certain uses of her private property.” Tahoe-Sierra, 535 U.S. at 321–22. Thus, a

                                   8   challenge to a regulatory taking requires “essentially ad hoc, factual inquiries.” Penn Cent.

                                   9   Transp. Co. v. City of New York, 438 U.S. 104, 124 (1978). The government need compensate for

                                  10   a regulatory taking “only if considerations such as the purpose of the regulation or the extent to

                                  11   which it deprives the owner of the economic use of the property suggest that the regulation has

                                  12   unfairly singled out the property owner to bear a burden that should be borne by the public as a
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                                  13   whole.” Yee v. City of Escondido, 503 U.S. 519, 523 (1992); see also Pa. Coal Co. v. Mahon, 260

                                  14   U.S. 393, 415 (1922) (“The general rule at least is that while property may be regulated to a

                                  15   certain extent, if regulation goes too far it will be recognized as a taking.”). Given the

                                  16   “longstanding distinction between acquisitions of property for public use, on the one hand, and

                                  17   regulations prohibiting private uses, on the other,” the Supreme Court has warned that it is

                                  18   “inappropriate to treat cases involving physical takings as controlling precedents for the evaluation

                                  19   of a claim that there has been a ‘regulatory taking,’ and vice versa.” Tahoe-Sierra, 535 U.S. at

                                  20   323.

                                  21          At first glance, this case would seem to fit within the regulatory taking category. After all,

                                  22   the Ballingers challenge a city ordinance that regulates how they make use of their property. But

                                  23   that is not the theory the Ballingers have chosen to pursue.3 Rather, according to the Ballingers,

                                  24   the Ordinance is an unconstitutional physical taking because it forces them to “turn over private

                                  25   funds to other private persons.” FAC ¶ 45; see also Opp. at 4. Because the “plaintiff is the master

                                  26   of the complaint,” Caterpillar Inc. v. Williams, 482 U.S. 386, 398–99 (1987), the Court will

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                                  28    In fact, the Ballingers dropped their regulatory taking claim when they filed the FAC. See
                                       Compl., Dkt. No. 1 ¶¶ 65–72.
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                                   1   analyze their claim as pled.

                                   2               i.   Physical Taking for Private Purpose
                                   3          The Ballingers’ first cause of action asserts that the Ordinance, on its face, commands a

                                   4   physical taking of private property for a private purpose, in violation of the Fifth Amendment. See

                                   5   FAC ¶¶ 43–53. The City contends that this cause of action must be dismissed “because it does not

                                   6   state an independent claim, but rather is a redundant attempt to challenge the issue of whether the

                                   7   Ordinance serves a public purpose.” Mot. at 6. Oakland relies on Rancho de Calistoga v. City of

                                   8   Calistoga, in which the Ninth Circuit held that a “‘private takings claim’ cannot serve as an

                                   9   independent means to challenge an alleged regulatory taking” but instead “must function as part of

                                  10   the larger regulatory takings claim.” See 800 F.3d 1083, 1092 (9th Cir. 2015); see also MHC Fin.

                                  11   Ltd. P’ship v. City of San Rafael, 714 F.3d 1118, 1129 n.5 (9th Cir. 2013) (assuming without

                                  12   deciding that regulatory private taking claim was cognizable, despite being aware of no court that
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                                  13   has ever recognized such a claim). The Ballingers assert that Rancho does not apply, because it

                                  14   was a regulatory takings case, and they are asserting a physical taking of their property. Opp. at 4.

                                  15          The Court agrees that Rancho’s limitation does not apply to the Ballingers’ physical taking

                                  16   claims. The Supreme Court has cautioned that courts should “not apply . . . precedent from the

                                  17   physical takings context to regulatory takings claims.” Tahoe-Sierra, 535 U.S. at 323–24. And in

                                  18   a challenge to a physical taking, a plaintiff may assert that property was taken for a private

                                  19   purpose in violation of the Fifth Amendment. See Kelo v. City of New London, 545 U.S. 469, 477

                                  20   (2005) (noting that “it has long been accepted that the sovereign may not take the property of A for

                                  21   the sole purpose of transferring it to another private party B, even though A is paid just

                                  22   compensation”); Haw. Hous. Auth. v. Midkiff, 467 U.S. 229, 245 (1984) (“A purely private taking

                                  23   could not withstand the scrutiny of the public use requirement; it would serve no legitimate

                                  24   purpose of government and would thus be void.”). The Court notes that the term “public use” is

                                  25   construed broadly, to “afford[] legislatures broad latitude in determining what public needs justify

                                  26   the use of the takings power.” Kelo, 545 U.S. at 483. But ultimately the Court need not—and,

                                  27   practically speaking, cannot—decide whether there was a valid public use, because it concludes

                                  28   that there was no taking. Accordingly, the Court GRANTS the motion to dismiss the first cause
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                                   1   of action.

                                   2                ii.   Unconstitutional Exaction of Private Property
                                   3          In their second cause of action, the Ballingers assert that the Ordinance is an

                                   4   unconstitutional exaction of private property because it conditions the exercise of their right to

                                   5   regain possession of their property on paying their tenants a relocation stipend. See FAC ¶¶ 55–

                                   6   57. Oakland argues that this claim must be dismissed because the exaction analysis does not

                                   7   apply, and even if it did, the Ordinance satisfies the constitutional requirements.4 The Court

                                   8   begins with an overview of the unconstitutional exactions doctrine before turning to its

                                   9   applicability here.

                                  10                      a. Unconstitutional Exactions
                                  11          The “unconstitutional conditions doctrine” exists to “vindicate[] the Constitution’s

                                  12   enumerated rights” by ensuring that “the government may not deny a benefit to a person because
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                                  13   he exercises a constitutional right.” Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595,

                                  14   604 (2013) (internal quotation omitted). One “special application” of this general principle is the

                                  15   exactions doctrine, which exists to “protect[] the Fifth Amendment right to just compensation for

                                  16   property the government takes when owners apply for land-use permits.” Id.

                                  17          The modern exactions doctrine was first articulated in Nollan v. California Coastal

                                  18   Commission, 483 U.S. 825 (1987). There, the California Coastal Commission told the Nollans

                                  19   that it would grant them a development permit to rebuild their oceanfront home only if they

                                  20   created a public easement so that beachgoers would have continued access to the shore. Id. at

                                  21   828–29. The Supreme Court reaffirmed that “land-use regulation does not effect a taking if it

                                  22   ‘substantially advance[s] legitimate state interests’ and does not ‘den[y] an owner economically

                                  23   viable use of his land.’” Id. at 834 (alterations in original) (quoting Agins v. Tiburon, 447 U.S.

                                  24   255, 260 (1980)). However, the Court found that conditioning the permit on the creation of a

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                                         Oakland also argued that the Ballingers’ claim “is not ripe for adjudication because [they] do not
                                       allege that they have exhausted state law procedures for obtaining compensation,” Mot. at 8, as
                                  27   was required by Williamson County Regional Planning Commission v. Hamilton Bank of Johnson
                                       City, 473 U.S. 172, 195 (1985). Since this motion was submitted, the Supreme Court overturned
                                  28   Williamson County. See Knick, 139 S. Ct. at 2179. Thus, failure to exhaust no longer creates a
                                       prudential barrier to federal court adjudication and the Court will proceed to the merits.
                                                                                          8
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                                   1   public easement lacked a nexus with the original purpose of the building restriction, which had

                                   2   been to protect visual access to the beach. See Nollan, 483 U.S. at 837. Therefore, the condition

                                   3   was not a valid land-use regulation but rather an attempt to advance state interests without

                                   4   compensation, which amounted to an unconstitutional exaction. See id. at 841–42.

                                   5          Seven years later, in Dolan v. City of Tigard, the Supreme Court considered a challenge to

                                   6   the city’s attempt to condition approval of a redevelopment permit on the property owner

                                   7   dedicating roughly 10% of her property to an improved floodplain and a pedestrian and bicycle

                                   8   path. See 512 U.S. 374, 379–80 (1994). The Court held this permit condition to be an

                                   9   unconstitutional exaction, because the city had failed to show a “rough proportionality,” meaning

                                  10   an “individualized determination that the required dedication is related both in nature and extent to

                                  11   the impact of the proposed development.” Id. at 391.

                                  12          Most recently, in Koontz, the Supreme Court identified “the central concern of Nollan and
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                                  13   Dolan: the risk that the government may use its substantial power and discretion in land-use

                                  14   permitting to pursue governmental ends that lack an essential nexus and rough proportionality to

                                  15   the effects of the proposed new use of the specific property at issue, thereby diminishing without

                                  16   justification the value of the property.” 570 U.S. at 614. There, the Court held that the exactions

                                  17   doctrine prohibited the government from making “[e]xtortionate demands for property,” meaning

                                  18   that a property owner could sue when the government denied a permit for refusing to accept its

                                  19   conditions. See id. at 606–07. In addition, the Court held that monetary exactions—a requirement

                                  20   that a property owner spend money, rather than give up a property interest—were subject to the

                                  21   nexus and rough proportionality requirements. Id. at 612.

                                  22                    b. Applicability of Exaction Framework
                                  23          Oakland contends that the Ordinance cannot be analyzed under the exaction framework

                                  24   because no property was transferred to the City and because generally applicable legislation is not

                                  25   subject to the exaction analysis. See Mot. at 8–9. The Court considers each argument in turn.

                                  26                        1. Transfer of Property Interest
                                  27          According to Oakland, the exaction framework does not apply, because the “Ordinance

                                  28   works no transfer of a property interest from Plaintiffs to the City.” Mot. at 9. The Court does not
                                                                                         9
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                                   1   find the analysis nearly so simple and declines to rule on this ground.

                                   2          The Supreme Court has made clear that when the government takes physical possession of

                                   3   private property, there is a taking. See Koontz, 570 U.S. at 615 (noting that policy that demanded

                                   4   a “transfer [of] an interest in property from the landowner to the government . . . would amount to

                                   5   a per se taking similar to the taking of an easement or a lien”); see also Tahoe-Sierra, 535 U.S. at

                                   6   322 (“When the government physically takes possession of an interest in property for some public

                                   7   purpose, it has a categorical duty to compensate the former owner . . . .”). But “statutes regulating

                                   8   the economic relations of landlords and tenants are not per se takings.” FCC v. Fla. Power Corp.,

                                   9   480 U.S. 245, 252 (1987). And the California Supreme Court has determined that Nollan and

                                  10   Dolan apply only when the government requires a “property owner [to] convey some identifiable

                                  11   property interest.” Cal. Bldg. Indus. Ass’n v. City of San Jose, 351 P.3d 974, 990 (Cal. 2015).

                                  12          Despite the City’s characterizations, none of the cases it cites stand for the principle that
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                                  13   the property must necessarily be transferred to the government to constitute a taking. After all, in

                                  14   Nollan, it was the general public, not the government, that benefitted from the creation of a public

                                  15   easement to increase beach access. See 483 U.S. at 837. Similarly, the Ballingers have at least a

                                  16   plausible argument that although no money is transferred to the government, it is still put to public

                                  17   use because it helps to reduce rental costs and prevent displacement. Moreover, Kelo makes clear

                                  18   that the Takings Clause prohibits physical takings of real property for purely private purposes.

                                  19   See 545 U.S. at 477. But the Court ultimately need not resolve this dispute because it finds that

                                  20   the Ordinance cannot constitute a physical taking for the simpler reason that it is generally

                                  21   applicable legislation.

                                  22                        2. Generally Applicable Legislation
                                  23          Alternatively, Oakland contends that “generally-applicable legislation is not subject to an

                                  24   exaction analysis.” Mot. at 9. The Court agrees, because the exaction doctrine exists to prevent

                                  25   the government from using its coercive power to demand unconstitutional conditions in

                                  26   adjudicative settings, not to impede the enforcement of generally applicable laws. See Koontz,

                                  27   570 U.S. at 614 (noting that “direct link between the government’s demand and a specific parcel

                                  28   of real property” led to “the risk that the government may use its substantial power and discretion
                                                                                        10
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                                   1   in land-use permitting” to exact unconstitutional conditions).

                                   2          In McClung v. City of Sumner, the Ninth Circuit considered a challenge to a city ordinance

                                   3   requiring that all new developments include storm drain pipes at least 12 inches in diameter. See

                                   4   548 F.3d 1219, 1227 (9th Cir. 2008). The court applied a Penn Central regulatory takings

                                   5   analysis, after concluding that the Nollan/Dolan framework applied only to “adjudicative,

                                   6   individual determinations conditioning permit approval on the grant of property rights to the

                                   7   public” and not “general land use regulations.” Id. It noted that extending Nollan/Dolan would

                                   8   mean “subject[ing] any regulation governing development to higher scrutiny and raise the concern

                                   9   of judicial interference with the exercise of local government police powers.” Id. at 1228.

                                  10          The Ballingers argue that McClung does not apply because “it was not clear that the

                                  11   restriction at issue was actually an exaction, rather than a standard land use regulation.” Opp. at

                                  12   12. Perhaps—but the same is true here. To be sure, one court in this district has held that the
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                                  13   Nollan/Dolan exaction framework applies to a city ordinance requiring a monetary payment

                                  14   before an owner may withdraw a housing unit from the rental market. See Levin v. City & Cty. of

                                  15   San Francisco, 71 F. Supp. 3d 1072, 1082–83 (N.D. Cal. 2014). In so holding, Judge Breyer

                                  16   found that “Koontz abrogated McClung’s holding that Nollan/ Dolan does not apply to monetary

                                  17   exactions, which is intertwined with and underlies McClung’s assumptions about legislative

                                  18   conditions.” Id. at 1083 n.4.

                                  19          But this Court finds more persuasive Judge Chhabria’s conclusion that Koontz did not

                                  20   overrule McClung. See Bldg. Indus. Ass’n—Bay Area v. City of Oakland, 289 F. Supp. 3d 1056,

                                  21   1058 (N.D. Cal. 2018). Judge Chhabria noted that “the Ninth Circuit and the California Supreme

                                  22   Court have expressly stated that a development condition need only meet the requirements

                                  23   of Nollan and Dolan if that condition is imposed as an ‘individual, adjudicative decision.’” Id.

                                  24   (quoting McClung, 548 F.3d at 1227; citing Ehrlich v. City of Culver City, 911 P.2d 429, 447 (Cal.

                                  25   1996)). As noted in Building Industry Association, the “exactions doctrine . . . has historically

                                  26   been understood as a means to protect against abuse of discretion by land-use officials with

                                  27   respect to an individual parcel[] of land, and Koontz itself spoke of it in those terms.” Id. at 1058–

                                  28   59. Limiting the exactions doctrine to adjudicative decisions makes sense, because it is in this
                                                                                         11
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                                   1   context that the government can most easily use its considerable power and discretion over

                                   2   permitting to extract concessions from landowners when it would otherwise be required to pay just

                                   3   compensation.

                                   4          By contrast, property owners may exercise their political power to oppose generally

                                   5   applicable legislation that regulates their property in a manner that they view as burdensome or

                                   6   unfair. See San Remo Hotel L.P. v. City & Cty. of San Francisco, 41 P.3d 87, 105 (Cal. 2002)

                                   7   (“While legislatively mandated fees do present some danger of improper leveraging, such

                                   8   generally applicable legislation is subject to the ordinary restraints of the democratic political

                                   9   process.”); see also Bi-Metallic Inv. Co. v. State Bd. of Equalization, 239 U.S. 441, 445 (1915)

                                  10   (Holmes, J.) (“General statutes within the state power are passed that affect the person or property

                                  11   of individuals, sometimes to the point of ruin, without giving them a chance to be heard. Their

                                  12   rights are protected in the only way that they can be in a complex society, by their power,
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                                  13   immediate or remote, over those who make the rule.”). Local governments frequently pass laws

                                  14   that alter the value of property. See Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S.

                                  15   419, 440 (1982) (noting that the Supreme Court “has consistently affirmed that States have broad

                                  16   power to regulate housing conditions in general and the landlord-tenant relationship in particular

                                  17   without paying compensation for all economic injuries that such regulation entails” and collecting

                                  18   cases). A system in which every city ordinance was subject to an unconstitutional exaction

                                  19   challenge would be unworkable.

                                  20          In sum, although it may be true that “lower courts have divided over whether the

                                  21   Nollan/Dolan test applies in cases where the alleged taking arises from a legislatively imposed

                                  22   condition rather than an administrative one,” Cal. Bldg. Indus. Ass’n v. City of San Jose, 136 S. Ct.

                                  23   928 (2016) (Thomas, J., concurring in denial of certiorari), the Ninth Circuit has provided the

                                  24   answer for this Court. The Ordinance did not constitute an unconstitutional exaction because it

                                  25   was generally applicable legislation, meaning that the Ballingers’ exaction claim fails as a matter

                                  26   of law. Accordingly, the Court need not engage in the comparatively fact-intensive analysis of

                                  27   determining whether there was a nexus and rough proportionality.

                                  28                                              *       *       *
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                                   1             The Court finds that the Ballingers have not, and cannot, plead an unconstitutional

                                   2   exaction claim based on the Ordinance and thus GRANTS the motion to dismiss this cause of

                                   3   action.

                                   4                iii.   Physical Taking
                                   5             In their third cause of action, the Ballingers contend that the Ordinance is “an

                                   6   unconstitutional physical taking of property as applied to Plaintiffs,” because it forces them to

                                   7   transfer money to their tenants or otherwise “face severe financial penalties.” See FAC ¶ 67–70.

                                   8   The City argues that this cause of action must be dismissed because the Ordinance’s “requirement

                                   9   that money transfer between two private parties does not create a physical taking of that money.”

                                  10   Mot. at 14–16.5

                                  11             The “classic taking” is one “in which the government directly appropriates private property

                                  12   for its own use,” Tahoe-Sierra, 535 U.S. at 324 (internal alteration and quotation omitted), such as
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                                  13   when the government requires landlords to allow the installation of television cables on buildings,

                                  14   Loretto, 458 U.S. at 421. The constitutional protection against per se takings without just

                                  15   compensation applies equally to the physical appropriation of personal property as it does to real

                                  16   property. See Horne v. Dep’t of Agric., 135 S. Ct. 2419, 2426–27 (2015) (“The Government has a

                                  17   categorical duty to pay just compensation when it takes your car, just as when it takes your

                                  18   home.”).

                                  19             But no precedent supports the Ballingers’ argument that legislation requiring the payment

                                  20   of money constitutes a physical taking, triggering the just compensation requirement. To the

                                  21   contrary, a plurality of Justices in Eastern Enterprises v. Apfel agreed that the Coal Act’s creation

                                  22   of an obligation to pay money to fund the health care costs of retired miners did not constitute a

                                  23   physical taking. See 524 U.S. 498, 540 (1998) (Kennedy, J., concurring) (“[The Coal Act] does

                                  24   not operate upon or alter an identified property interest . . . . The law simply imposes an

                                  25   obligation to perform an act, the payment of benefits. . . . To call this sort of governmental action

                                  26   a taking as a matter of constitutional interpretation is both imprecise and, with all due respect,

                                  27
                                       5
                                  28    Oakland also argued that the Ballingers failed to exhaust state-law procedures for obtaining
                                       compensation, Mot. at 12, but the ripeness doctrine was overruled by Knick, 139 S. Ct. at 2179.
                                                                                        13
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                                   1   unwise.”); id. at 554 (Breyer, J., dissenting) (“The ‘private property’ upon which the [Takings]

                                   2   Clause traditionally has focused is a specific interest in physical or intellectual property. . . . This

                                   3   case involves not an interest in physical or intellectual property, but an ordinary liability to pay

                                   4   money, and not to the Government, but to third parties.”). The courts of appeal that have

                                   5   considered this question have held that Eastern Enterprises established that “the mere imposition

                                   6   of an obligation to pay money does not give rise to a claim under the Takings Clause.” W. Va.

                                   7   CWP Fund v. Stacy, 671 F.3d 378, 387 (4th Cir. 2011); see also Commonwealth Edison Co. v.

                                   8   United States, 271 F.3d 1327, 1339 (Fed. Cir. 2001) (finding that “five justices of the Supreme

                                   9   Court in Eastern Enterprises agreed that regulatory actions requiring the payment of money are

                                  10   not takings”). This Court agrees that Eastern Enterprises is the law: the obligation to pay money

                                  11   is not a taking. See Banks v. Cty. of San Mateo, No. 16-CV-04455-YGR, 2017 WL 3434113, at

                                  12   *13 (N.D. Cal. Aug. 10, 2017) (noting lack of precedent in the Ninth Circuit and following
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                                  13   Eastern Enterprises to find that “the charging of fees does not constitute a violation of the Takings

                                  14   Clause”).

                                  15          Nor has the holding of Eastern Enterprise been altered by subsequent authority. Koontz

                                  16   held only that monetary exactions in the permitting process were subject to Nollan/Dolan scrutiny

                                  17   because they burdened the ownership of an identifiable parcel of land. See 570 U.S. at 613–14.

                                  18   But it did not bring all general legislation requiring the transfer of money within the realm of the

                                  19   Takings Clause. The Ballingers also point to Horne, in which the Supreme Court held that “a

                                  20   governmental mandate to relinquish specific, identifiable property as a ‘condition’ on permission

                                  21   to engage in commerce effects a per se taking.” See 135 S. Ct. at 2430. But money is not specific,

                                  22   identifiable property. Rather, “[u]nlike real or personal property, money is fungible.” United

                                  23   States v. Sperry Corp., 493 U.S. 52, 62 n.9 (1989). And just because an ordinance mandates the

                                  24   transfer of wealth, that “does not convert regulation into physical invasion.” Yee, 503 U.S. at 530.

                                  25   To hold otherwise would make it impossible for state and local governments to exercise their

                                  26   “broad power to regulate housing conditions in general and the landlord-tenant relationship in

                                  27   particular without paying compensation for all economic injuries that such regulation entails.”

                                  28   Loretto, 458 U.S. at 440. Finally, it is difficult to envision how exactly the City of Oakland would
                                                                                          14
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                                   1   pay just compensation for an ordinance requiring the payment of money between two private

                                   2   parties.

                                   3              The Court finds that the Ballingers’ physical taking claim is not cognizable and therefore

                                   4   GRANTS the motion to dismiss the third cause of action.

                                   5          B.       Fourth Amendment Seizure
                                   6              The Ballingers’ fourth cause of action asserts that the Ordinance constitutes an

                                   7   unreasonable seizure of their money and real property. See FAC ¶¶ 74–84. The City contends

                                   8   that this cause of action must be dismissed because “[r]egulation of private activity is not state

                                   9   action,” and even if the Fourth Amendment were applicable, the seizure would not be

                                  10   unreasonable. See Mot. at 17.

                                  11              Under the Fourth Amendment, a seizure “occurs when there is some meaningful

                                  12   interference with an individual’s possessory interests in that property.” Soldal v. Cook Cty., 506
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                                  13   U.S. 56, 61 (1992) (internal quotation omitted). Though most familiar in the criminal context, the

                                  14   Fourth Amendment’s protections also apply “in the civil context.” United States v. James Daniel

                                  15   Good Real Prop., 510 U.S. 43, 51 (1993). But the Constitution constrains only state action. Blum

                                  16   v. Yaretsky, 457 U.S. 991, 1003 (1982). And “state action requires both an alleged constitutional

                                  17   deprivation caused by the exercise of some right or privilege created by the State or by a rule of

                                  18   conduct imposed by the State or by a person for whom the State is responsible, and that the party

                                  19   charged with the deprivation must be a person who may fairly be said to be a state actor.” Am.

                                  20   Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 50 (1999) (internal quotations omitted).

                                  21              In the Ballingers’ view, “the Ordinance forces the Ballingers and others to choose between

                                  22   one of two City-authorized seizures for tenant benefit—your home or your money—or face

                                  23   substantial penalties.” Opp. at 16. And because the City has created a “catch-22 seizure

                                  24   situation,” the logic goes, it is subject to the constraints of the Fourth Amendment. See id.

                                  25              Even assuming for the sake of argument that the Ballingers have alleged a seizure of either

                                  26   their house or money, they have not met the preliminary requirement of alleging that a state actor

                                  27   caused the deprivation. The Ballingers cite a Fourth Circuit case, Presley v. City of

                                  28   Charlottesville, for the proposition that the state action requirement is met because the “City
                                                                                           15
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                                   1   authorized and compelled a seizure of money by third parties.” Opp. at 15. In Presley, trespasses

                                   2   to land committed by private citizens were attributed to the city because it knowingly published an

                                   3   erroneous map that encouraged the public to use a hiking trail that trespassed through the

                                   4   plaintiff’s property. See 464 F.3d 480, 487–88 (4th Cir. 2006). Here, by contrast, the only state

                                   5   action is the passage of the Ordinance requiring the payment of money to tenants who are evicted

                                   6   for no fault of their own. But the “subtle encouragement” of passing a law “is no more significant

                                   7   than that which inheres in the State’s creation or modification of any legal remedy,” and finding it

                                   8   to be state action would destroy the “essential dichotomy between public and private acts.” Am.

                                   9   Mfrs., 526 U.S. at 53 (internal quotation omitted). The City’s mere authorization, as opposed to

                                  10   encouragement, is not state action. See Am. Mfrs., 526 U.S. at 52; Flagg Bros., Inc. v. Brooks, 436

                                  11   U.S. 149, 164–66 (1978) (holding that actions by private actors taken pursuant to state statute are

                                  12   not state action).
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                                  13           Accordingly, because the Ballingers have not alleged a constitutional deprivation at the

                                  14   hands of a state actor, the Ballingers’ Fourth Amendment claim fails as a matter of law and the

                                  15   Court GRANTS the motion to dismiss this cause of action.

                                  16          C.     Due Process Violation
                                  17           In their fifth cause of action, the Ballingers assert that the Ordinance does not rationally

                                  18   advance any legitimate governmental interest and is arbitrary, particularly because of its

                                  19   retroactive nature, which violates the Fourteenth Amendment’s guarantee of due process. See

                                  20   FAC ¶¶ 85–95. The City moves to dismiss, asserting that the Ordinance is not retrospective and

                                  21   that it even if it was, it survives rational basis review. See Mot. at 17–20.6

                                  22           A “regulation that fails to serve any legitimate governmental objective may be so arbitrary

                                  23   or irrational that it runs afoul of the Due Process Clause.” Lingle v. Chevron U.S.A. Inc., 544 U.S.

                                  24   528, 542 (2005). “To constitute a violation of substantive due process, the alleged deprivation

                                  25   must ‘shock the conscience and offend the community’s sense of fair play and decency.’” Sylvia

                                  26
                                  27
                                       6
                                        In its opening brief, the City also argued that “the due process claim is subsumed by the Takings
                                       Clause.” Mot. at 17. In response, the Ballingers clarify that they are bringing a substantive due
                                  28   process claim, Opp. at 17, which the City agrees is not subsumed by the Takings Clause, Reply at
                                       12.
                                                                                         16
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                                   1   Landfield Tr. v. City of Los Angeles, 729 F.3d 1189, 1195 (9th Cir. 2013) (quoting Marsh v. Cty.

                                   2   of San Diego, 680 F.3d 1148, 1154 (9th Cir. 2012)). A law is not retroactive just because it

                                   3   “upsets expectations based in prior law,” but only if it “attaches new legal consequences to events

                                   4   completed before its enactment.” Landgraf v. USI Film Prods., 511 U.S. 244, 269–70 (1994).

                                   5   But even “[r]etrospective economic legislation need only survive rational basis review in order to

                                   6   pass constitutional muster.” Gadda v. State Bar of Cal., 511 F.3d 933, 938 (9th Cir. 2007); see

                                   7   also Gen. Motors Corp. v. Romein, 503 U.S. 181, 191 (1992).

                                   8          The Ballingers’ substantive due process claim fails as a matter of law because they do not

                                   9   meet the “extremely high” burden, Richardson v. City & Cty. of Honolulu, 124 F.3d 1150, 1162

                                  10   (9th Cir. 1997), of showing that the Ordinance is arbitrary and irrational. First, the Ordinance is

                                  11   not retrospective, because although it upset the Ballingers’ expectations about the costs of evicting

                                  12   their tenants, it does not attach any new legal consequences to events completed before its
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                                  13   passage. See Franceschi v. Yee, 887 F.3d 927, 940 (9th Cir. 2018) (holding that statute revoking

                                  14   driver’s licenses for failure to pay past-due taxes did not operate retroactively because it was

                                  15   “dependent on a taxpayer’s current conduct . . . and not on past conduct”). Second, the Ordinance

                                  16   passes rational basis review, regardless of whether it acts retroactively. The City Council’s

                                  17   legislative purpose, to promote community stability and help tenants avoid displacement and high

                                  18   moving costs, was a legitimate one. See Pennell v. City of San Jose, 485 U.S. 1, 12–13 (1988)

                                  19   (holding that protection of tenants is legitimate governmental purpose); Apartment Ass’n of

                                  20   Greater L.A. v. City of Beverly Hills, No. CV 18-6840 PSG (EX), 2019 WL 1930136, at *7 (C.D.

                                  21   Cal. Apr. 17, 2019) (upholding challenge to relocation payment ordinance against substantive due

                                  22   process challenge). And the Ordinance is rationally related to that legitimate end because it shifts

                                  23   some of the costs of relocation from tenants evicted for no fault of their own onto their landlords

                                  24   based on the size of the rental property and the duration of the tenant’s occupancy. Cf.

                                  25   Guggenheim v. City of Goleta, 638 F.3d 1111, 1122 (9th Cir. 2010) (en banc) (upholding rent

                                  26   control ordinance against substantive due process challenge). Thus, the Ballingers have not

                                  27   satisfied the extremely high bar of showing that the duly-passed Ordinance shocks the conscience

                                  28   so as to violate their substantive due process rights.
                                                                                         17
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                                   1            The Court GRANTS the motion to dismiss the due process claim because it concludes that

                                   2   the Ballingers have not pled any facts to reasonably support the conclusion that the Ordinance is

                                   3   impermissibly retroactive, arbitrary, or irrational.

                                   4            D.   Contract Clause
                                   5            The Ballingers’ sixth and final cause of action asserts that the Ordinance violates the

                                   6   Constitution’s Contract Clause. FAC ¶¶ 96–104.

                                   7            The Contract Clause provides that “[n]o State shall . . . pass any . . . Law impairing the

                                   8   Obligation of Contracts.” U.S. Const. art. I, § 10, cl. 1. The “Contract Clause limits the power of

                                   9   the States to modify their own contracts as well as to regulate those between private parties” but

                                  10   “does not prohibit the States from repealing or amending statutes generally, or from enacting

                                  11   legislation with retroactive effects.” U.S. Tr. Co. of N.Y. v. New Jersey, 431 U.S. 1, 17 (1977).

                                  12   The Clause is “narrowly construe[d]” in order “to ensure that local governments can effectively
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                                  13   exercise their police powers.” S. Cal. Gas Co. v. City of Santa Ana, 336 F.3d 885, 889 (9th Cir.

                                  14   2003).

                                  15             To assess whether “laws affecting pre-existing contracts violate the Clause,” courts

                                  16   engage in a two-step inquiry. Sveen v. Melin, 138 S. Ct. 1815, 1821 (2018). First, courts

                                  17   determine whether the state law has “operated as a substantial impairment of a contractual

                                  18   relationship.” Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 244 (1978). This step

                                  19   includes considering “the extent to which the law undermines the contractual bargain, interferes

                                  20   with a party’s reasonable expectations, and prevents the party from safeguarding or reinstating his

                                  21   rights.” Sveen, 138 S. Ct. at 1822. And “when considering substantial impairment, [courts] focus

                                  22   on the importance of the term which is impaired, not the dollar amount.” S. Cal. Gas Co., 336

                                  23   F.3d at 892. Second, if there is substantial impairment, courts look to the “means and ends of the

                                  24   legislation,” Sveen, 138 S. Ct. at 1822, including whether there is a “significant and legitimate

                                  25   public purpose behind the regulation,” Energy Reserves Grp., Inc. v. Kan. Power & Light Co., 459

                                  26   U.S. 400, 411 (1983). When the government is not a party to the contract, courts must “defer to

                                  27   legislative judgment as to the necessity and reasonableness of a particular measure.” Id. at 413

                                  28   (internal quotation omitted).
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                                   1             The Court finds that the Ordinance does not substantially impair the agreement between

                                   2   the Ballingers and their tenants. Tellingly, the Ballingers are not able to muster any precedent to

                                   3   support their arguments. And given the “existence of extensive regulation” of the landlord-tenant

                                   4   relationship, the Ballingers could not reasonably have expected the regulatory landscape to remain

                                   5   unchanged indefinitely. See id. at 416 (finding no impairment of reasonable expectations where

                                   6   parties recognized “existence of extensive regulation” in field); see also Rancho de Calistoga, 800

                                   7   F.3d at 1091 (noting that “those who do business in a regulated field cannot object if the

                                   8   legislative scheme is buttressed by subsequent amendments to achieve the legislative end”)

                                   9   (internal quotation and alterations omitted); Chi. Bd. of Realtors, Inc. v. City of Chicago, 819 F.2d

                                  10   732, 737 (7th Cir. 1987) (considering extent of prior landlord-tenant regulation and denying

                                  11   motion for preliminary injunction on Contract Clause claim). After all, when they leased their

                                  12   house, the Ballingers would have been required to make a relocation payment to a tenant they
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                                  13   evicted under the Ellis Act. The Ordinance simply extended this obligation to include no-fault

                                  14   evictions for owner move-ins. And the Ordinance does not prohibit owner move-ins, it just

                                  15   redistributes the costs so that tenants are not forced to bear the full financial brunt of being evicted.

                                  16   Thus, the relocation payment is not a “ransom requirement,” Opp. at 21, but merely one more

                                  17   regulation added to the stack of those governing the relationship between Oakland landlords and

                                  18   their tenants.

                                  19             The Court finds that the Ballingers have not alleged a substantial impairment of their

                                  20   contractual relationship and thus GRANTS the motion to dismiss the Contract Clause cause of

                                  21   action.

                                  22             E.     Standing to Pursue Injunctive or Declaratory Relief
                                  23             Oakland contends that the Ballingers lack standing to pursue either injunctive or

                                  24   declaratory relief and that these claims for relief must be dismissed. Mot. at 22–23. The

                                  25   Ballingers do not respond to this argument.

                                  26             A plaintiff “must show standing with respect to each form of relief sought.” Ellis v.

                                  27   Costco Wholesale Corp., 657 F.3d 970, 978 (9th Cir. 2011). To establish standing, a plaintiff

                                  28   “must have suffered an injury-in-fact that is fairly traceable to the challenged conduct and that is
                                                                                          19
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                                   1   likely to be redressed by a favorable judicial decision.” California v. Azar, 911 F.3d 558, 570 (9th

                                   2   Cir. 2018). And when a plaintiff seeks prospective injunctive relief, he must establish “a real and

                                   3   immediate threat of repeated injury” so as to show “a sufficient likelihood that he will again be

                                   4   wronged in a similar way.” Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007)

                                   5   (quotations omitted).

                                   6           Given that the Ballingers did not oppose this ground for dismissal, and the Court has

                                   7   dismissed the substantive claims, the Court declines to rule on whether the Ballingers have

                                   8   adequately pled standing to pursue injunctive or declaratory relief.

                                   9   IV.     CONCLUSION
                                  10           The Court finds that the Ballingers have failed to plead a cognizable legal theory on any of

                                  11   their constitutional challenges to the Ordinance and thus GRANTS the motion to dismiss.

                                  12   Further, the Court grants the motion without leave to amend because it finds that leave would be
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                                  13   futile, as counsel for the Ballingers acknowledged at the hearing that the factual underpinnings are

                                  14   not disputed. Of course, in granting this motion, the Court does not opine on the wisdom or the

                                  15   effectiveness of the Ordinance in alleviating what is undoubtedly a housing crisis in the Bay Area.

                                  16   Cf. Miralle v. City of Oakland, No. 18-CV-06823-HSG, 2018 WL 6199929, at *4 (N.D. Cal. Nov.

                                  17   28, 2018) (noting that “the question before the Court is not whether the City’s policy approach” to

                                  18   addressing the “homelessness crisis” is “the ideal policy approach”). But the Ballingers lack a

                                  19   cognizable legal claim for the reasons discussed above, and that finding ends the Court’s inquiry

                                  20   here.

                                  21           The Clerk is directed to close the case and enter judgment in favor of Defendants.

                                  22           IT IS SO ORDERED.

                                  23   Dated: 8/2/19

                                  24                                                   ______________________________________
                                                                                       HAYWOOD S. GILLIAM, JR.
                                  25                                                   United States District Judge
                                  26
                                  27

                                  28
                                                                                        20
